               Case 2:19-cv-00239-GMS Document 24 Filed 09/19/19 Page 1 of 2



1    LAW OFFICES OF THOMAS M. CONNELLY
2
     Thomas M. Connelly (Az. Bar. No. 012987)
     2425 East Camelback Road, Suite 880
3    Phoenix, Arizona 85016
4
     Phone: (602) 957-1993
     Facsimile: (602) 957-2137
5    Tconnelly2425@aol.com
6
     LAW OFFICES OF THOMAS J. MARLOWE
7    Thomas J. Marlowe (Az. Bar No. 016640)
     2425 East Camelback Road, Suite 880
8
     Phoenix, Arizona 85016
9    Phone: (602) 957-1993
     Facsimile: (602) 957-2137
10
     Tmarlowe2425@outlook.com
11   Attorneys for Bardwell Defendants

12
                          IN THE UNITED STATES DISTRICT COURT
13

14                                   DISTRICT OF ARIZONA
15
     Ronald H. Pratte,                                 Case No.: 2:19-cv-00239-PHX-GMS
16
                    Plaintiff,
17
                                                       NOTICE OF INTENT TO SERVE
     vs.
18                                                     SUBPOENA DUCES TECUM
19   Jeffrey Bardwell and Fanny F. Bardwell,
     husband and wife,
20
                    Defendants.
21

22            Pursuant to Fed. R. Civ. P. 45(a)(4), Defendant Jeffrey Bardwell gives notice of
23
     his intent to serve a Subpoena Duces Tecum on the following individual: Justin Pratte.
24
              A copy of the subpoena has been provided to Plaintiff’s counsel via U.S. Mail and
25

26   email.
27

28




                                                   1
              Case 2:19-cv-00239-GMS Document 24 Filed 09/19/19 Page 2 of 2



1            Dated this 19th day of September, 2019.
2

3
                                               By: /s/ Thomas J. Marlowe
4                                              LAW OFFICES OF THOMAS J. MARLOWE
                                               2425 East Camelback Road, Suite 880
5
                                               Phoenix, Arizona 85016
6                                              Attorney for Defendant
7

8                                  CERTIFICATE OF SERVICE
9
             I, Thomas J. Marlowe, hereby certify that on September 19, 2019, I electronically
10
     transmitted the foregoing document to the Clerk’s Office using the ECF system for filing
11

12   and transmittal of a Notice of Electronic Filing to the following ECF registrant(s) in this

13   case.
14
     By: /s/ Thomas J. Marlowe
15

16
     Gregory B. Collins
     Zachary R. Fort
17   KERCSMAR & FELTUS PLLC
     7150 East Camelback Road, Suite 285
18
     Scottsdale, Arizona 85251
19   gbc@kflawaz.com
     zrf@kflawaz.com
20

21

22

23

24

25

26

27

28




                                                  2
